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                                 United States District Court
                                   SOUTHERN DISTRICT OF CALIFORNIA

                            NOTICE OF DOCUMENT DISCREPANCY

TO: ☒ U.S. DISTRICT JUDGE / ☐ U.S. MAGISTRATE JUDGE: The Hon. Cynthia Bashant
 FROM: M. Lozano, Deputy Clerk                       RECEIVED DATE: July 17, 2017
 CASE NO. 16cv0967-BAS-NLS                           DOC FILED BY: Anton Ewing
 CASE TITLE: Ewing v. Lend Mark Capital Group Inc. et al
 DOCUMENT ENTITLED: Notice of Motion/Motion to Dismiss

        Upon the submission of the attached document(s), the following discrepancies are noted:


  OTHER: Case Closed, all named parties dismissed per ECF dkt #9

 Civ.L. Rule 7.1 or 47.1 - Date noticed for hearing not in compliance with rules / Documents are not
 timely;



                                                           Date Forwarded:      July 17, 2017

                   ORDER OF THE JUDGE / MAGISTRATE JUDGE

IT IS HEREBY ORDERED:
 ☐ The document is to be filed nunc pro tunc to date received.
      The document is NOT to be filed. But instead REJECTED, and it is ORDERED that the Clerk
 ☒
      serve a copy of this order on all parties.
Rejected documents to be returned to pro se or inmate? ☐ Yes.  Court copy retained by chambers ☐
          Any further failure to comply with the Local Rules may lead to penalties pursuant to
                           Civil Local Rule 83.1 or Criminal Local Rule 57.1.

Date: August 2, 2017                   CHAMBERS OF: The Honorable Cynthia Bashant

cc: All Parties                             By: s/ Law Clerk
